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     Fill in this information to identify the case:

      United States Bankruptcy Court for the:


       Southern
      ____________________             Texas
                           District of _________________
                                            (State)

                                                                11
      Case number (If known): _________________________ Chapter _____                                                                             Check if this is an
                                                                                                                                                     amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   06/22

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




     1.   Debtor’s name                                Cóndor Inversiones SpA
                                                  ______________________________________________________________________________________________________




     2.   All other names debtor used              Alto Patache Solar SpA
                                                  ______________________________________________________________________________________________________
          in the last 8 years                     ______________________________________________________________________________________________________
                                                  ______________________________________________________________________________________________________
          Include any assumed names,
                                                  ______________________________________________________________________________________________________
          trade names, and doing business
          as names                                ______________________________________________________________________________________________________




     3.   Debtor’s federal Employer                     76,580,869-3 (Chilean Tax ID)
          Identification Number (EIN)



     4.   Debtor’s address                        Principal place of business                                           Mailing address, if different from principal place
                                                                                                                        of business

                                                  Avenida Apoquindo 4800
                                                  ______________________________________________                        _______________________________________________
                                                  Number        Street                                                  Number     Street

                                                  Torre Dos Piso 15, 1501-A
                                                  ______________________________________________                        _______________________________________________
                                                                                                                        P.O. Box

                                                      Las Condes, Santiago, XIII Region Metropolitana, Chile, 7560973
                                                  ______________________________________________                        _______________________________________________
                                                  City                        State    ZIP Code                         City                      State      ZIP Code


                                                                                                                        Location of principal assets, if different from
                                                                                                                        principal place of business
                                                  ______________________________________________
                                                  County                                                                _______________________________________________
                                                                                                                        Number     Street

                                                                                                                        _______________________________________________

                                                                                                                        _______________________________________________
                                                                                                                        City                      State      ZIP Code




     5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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    Debtor        Cóndor Inversiones SpA
                  _______________________________________________________                       Case number (if known)_____________________________________
                  Name




     6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify: __________________________________________________________________

                                              A. Check one:
     7.   Describe debtor’s business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above

                                              B. Check all that apply:

                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 2 ___
                                                 ___ 2 ___
                                                        1 ___
                                                           1
     8.   Under which chapter of the          Check one:
          Bankruptcy Code is the
          debtor filing?                       Chapter 7
                                               Chapter 9
                                               Chapter 11. Check all that apply:
          A debtor who is a “small business
          debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
          box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
          § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
          under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
          (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
          “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
          check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                               Chapter 12




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    Debtor         Cóndor Inversiones SpA
                   _______________________________________________________                      Case number (if known)_____________________________________
                   Name



     9.   Were prior bankruptcy cases         No
          filed by or against the debtor
          within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

     10. Are any bankruptcy cases             No
          pending or being filed by a
          business partner or an                            See Addendum
                                              Yes. Debtor _____________________________________________ Relationship _________________________
          affiliate of the debtor?                     District _____________________________________________ When               __________________
          List all cases. If more than 1,                                                                                        MM / DD / YYYY
          attach a separate list.                      Case number, if known ________________________________



     11. Why is the case filed in this       Check all that apply:
          district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

     12. Does the debtor own or have          No
          possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
          attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                       Other _______________________________________________________________________________


                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




                  Statistical and administrative information




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    Debtor         Cóndor Inversiones SpA
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




     13. Debtor’s estimation of                Check one:
         available funds                        Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                1-49                               1,000-5,000                                25,001-50,000
     14. Estimated number of
                                                50-99                              5,001-10,000                               50,001-100,000
         creditors1
                                                100-199                            10,001-25,000                              More than 100,000
                                                200-999

                                                $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                                $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                                $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities
                                                $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                  Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                    petition.
         debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                    correct.


                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                                 08/11/2023
                                                   Executed on _________________
                                                               MM / DD / YYYY


                                                  _____________________________________________                Mark A. McDermott
                                                                                                                _______________________________________________
                                                   Signature of authorized representative of debtor             Printed name


                                                           Administrator
                                                   Title _________________________________________




              1         The estimated number of creditors and estimated amounts of assets and liabilities are being listed
                        on a consolidated basis for the Debtor and its debtor affiliates, identified on the addendum attached
                        hereto.
      Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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    Debtor        Cóndor Inversiones SpA
                 _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     18. Signature of attorney
                                            /s/ Matthew D. Cavenaugh
                                               _____________________________________________            Date          08/11/2023
                                                                                                                      _________________
                                               Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Matthew     D. Cavenaugh
                                              _________________________________________________________________________________________________
                                              Printed name
                                               Jackson Walker LLP
                                              _________________________________________________________________________________________________
                                              Firm name
                                               1401 McKinney Street, Suite 1400
                                              _________________________________________________________________________________________________
                                              Number     Street
                                                Houston
                                              ____________________________________________________            TX           77010
                                                                                                              ____________ ______________________________
                                              City                                                            State          ZIP Code

                                               713-752-4284
                                              ____________________________________                            mcavenaugh@jw.com
                                                                                                              __________________________________________
                                              Contact phone                                                   Email address



                                               24062656                                                       Texas
                                              ______________________________________________________ ____________
                                              Bar number                                             State




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     Fill in this information to identify the case and this filing:


                   Cóndor Inversiones SpA
     Debtor Name __________________________________________________________________

                                                Southern                             Texas
     United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule ____

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration__________________________________________________________________________________
                                                          List of equity security holders and statement of corporate ownership



            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on 08/11/2023
                        ______________                            _________________________________________________________________________
                               MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                    Mark A. McDermott
                                                                    ________________________________________________________________________
                                                                    Printed name

                                                                    Administrator
                                                                    ______________________________________
                                                                    Position or relationship to debtor



    Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                             SCHEDULE 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                    On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a
            petition in this court for relief under chapter 11 of title 11 of the United States Code. The
            Debtors have moved for joint administration of these cases under the case number assigned to
            the chapter 11 case of Cóndor Inversiones SpA.

                                                     Cóndor Inversiones SpA
                                                     Huemul Inversiones SpA
                                                        Condor II, LLC
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

            ------------------------------------------------------------ x
            In re:                                                       :
                                                                         :         Chapter 11
                                                                         :
            Cóndor Inversiones SpA,                                      :         Case No. 23– ________ (               )
                                                                         :
                              Debtor.                                    :         (Joint Administration Requested)
                                                                         :
            ------------------------------------------------------------ x

                     CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
                INTEREST HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

                  Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
            Cóndor Inversiones SpA states as follows:

                                                        Name and Address of Corporate                       Percentage of
                           Entity
                                                                   Owner                                    Interests Held
                                                          DENEF Investment, S.L.U.2
                 Cóndor Inversiones SpA                   Calle Nanciares de Oca, 1B                              100%
                                                                Madrid, Spain




            2
                     As described in greater detail in the Declaration of Alan J. Carr, Administrator of the Debtors, in Support
                     of First Day Motions of Debtors and Debtors in Possession (the “First Day Declaration”), while DENEF
                     remains the 100% equity owner of the Debtor, Wilmington Trust, N.A., as Collateral Agent under the HoldCo
                     Credit Agreement (as defined in the First Day Declaration) currently has the right under the Cóndor Pledge
                     (as defined in the First Day Declaration) to exercise 100% of the voting (or “political rights”) associated with
                     100% of the shares of the Debtor.
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        Fill in this information to identify the case:

                    Cóndor Inversiones SpA
        Debtor name __________________________________________________________________

                                             Southern                            Texas
        United States Bankruptcy Court for the: ______________________ District of _________

        Case number (If known):   _________________________
                                                                                (State)
                                                                                                                                             Check if this is an
                                                                                                                                                amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders                                                                                                                  12/15

      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.


       Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
       mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                              contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated, total claim amount and deduction for value of
                                                                               services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff

  1
          - None Known -

  2




  3




  4




  5




  6




  7




  8




      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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      Debtor        Cóndor Inversiones SpA
                   _______________________________________________________                       Case number (if known)_____________________________________
                   Name




       Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
       mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated, total claim amount and deduction for value of
                                                                           services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff

  9




  10




  11




  12




  13




  14




  15




  16




  17




  18




  19




  20




      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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ACTA DE REUNIÓN EXTRAORDINARIA                           MINUTES OF SPECIAL MEETING OF
         DE ADMINISTRADORES                                      THE ADMINISTRATORS
       CÓNDOR INVERSIONES SpA                                   CÓNDOR INVERSIONES SpA


A 9 de agosto del año 2023, siendo las                  On August 9, 2023, at 12:30pm Chilean
12:30 horas de Chile, reunidos mediante                 time,    a     Special      Meeting     of   the
medios     tecnológicos,         tuvo     lugar    la   Administrators of Cóndor Inversiones
Reunión              Extraordinaria               de    SpA (hereinafter also referred to as the
Administradores                 de         Cóndor       “Company” or “Cóndor Inversiones”) was
Inversiones SpA (en adelante también la                 held via remote means. The meeting was
“Sociedad” o “Cóndor Inversiones”) con la               attended by the administrators, Mr. Mark
asistencia de los administradores señores               Alan Mc Dermott, bearer of US passport
Mark     Alan       Mc    Dermott,       pasaporte      No. 547041523, Mr. Daniel Gregory Katz,
estadounidense           número         547041523,      bearer of US passport No. 520661928, and
Daniel     Gregory            Katz,      pasaporte      Mr. Alan Jeffrey Carr, bearer of US
estadounidense número 520661928, y                      passport       No.     591911494     (hereinafter
Alan       Jeffrey            Carr,      pasaporte      collectively         referred   to     as    the
estadounidense número 591911494 (en                     “Administrators”). Mr. S. Wade Angus
adelante        y        en      conjunto         los   acted as ad hoc secretary of the meeting.
“Administradores”). Actuó como secretario               After the identity of the participants and
de actas ad hoc don S. Wade Angus.                      simultaneous              and         continuous
Verificada la identidad de los participantes,           communication were verified, the meeting
y   la     comunicación           simultánea       y    was declared open and in session.
permanente, se dio por constituida la
reunión y abierta la sesión.


1. Antecedentes.                                        1. Background.


1.1. Constitución y modificaciones. La                  1.1. Incorporation and modifications.
Sociedad fue constituida originalmente                  The Company was originally incorporated
bajo el nombre: “Alto Patache Solar SpA”,               as “Alto Patache Solar SpA” pursuant to a
mediante escritura pública de fecha 1 de                public deed dated July 1, 2016, granted
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julio de 2016, otorgada en la Notaría de           before    Santiago     Notary   Mr.   Roberto
Santiago    de   don      Roberto   Antonio        Antonio Cifuentes Allel, under record No.
Cifuentes Allel, bajo el repertorio número         5703-2016. The extract of this deed was
5703-2016, cuyo extracto fue inscrito a            registered on page 48,232 number 26,407
fojas 48.232 número 26.407 del Registro            of the Commercial Registry of Santiago for
del Comercio de Santiago correspondiente           the year 2016 and was published on the
al año 2016 y fue publicado en el Diario           Official Gazette on July 9 of the same year.
Oficial con fecha 9 de julio del mismo año.        Since its incorporation, the Company’s
A esta fecha, los estatutos de la Sociedad         bylaws have been subject to several
han      sido    objeto      de     diversas       modifications, the latest of which was made
modificaciones, constando la última de             pursuant to a shareholder agreement
ellas en acuerdo de accionistas sin forma          without the form of a meeting granted by
de junta otorgado por escritura pública de         means of a public deed dated July 12,
fecha 12 de julio de 2023, otorgada en la          2023,     before     Santiago   Notary     Mr.
notaría de Santiago de don Francisco               Francisco Leiva Carvajal, under record No.
Leiva Carvajal, bajo el repertorio número          51,147 (hereinafter referred to as the
51.147 (en adelante también la “Escritura          “Modification Deed”). An extract of this
de Modificación”). Un extracto de dicha            deed was registered on page 61,553
escritura fue inscrito a fojas 61.553,             number 26,625 of the Commercial Registry
número 26.625 del Registro de Comercio             of Santiago for the year 2023 and was
de Santiago correspondiente al año 2023 y          published on the Official Gazette on July 19
fue publicado en el Diario Oficial con fecha       of the same year.
19 de julio del mismo año.


1.2. Acciones y Registro de Accionistas. 1.2. Shares and Shareholders Registry.
El capital de la Sociedad asciende a la The                 Company’s      share    capital    is
cantidad de 99.515.091 dólares de los 99,515,091 United States dollars, currently
Estados Unidos de América, dividido divided into 1,000 ordinary, nominative,
actualmente en 1.000 acciones ordinarias, non-par value shares of a single series,
nominativas, sin valor nominal y de una fully subscribed and paid up. According to
única serie, íntegramente suscritas y the                  Shareholders     Registry     of   the
pagadas. De acuerdo con el Registro de Company, the only shareholder at this date




                                               2
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Accionistas de la Sociedad, a esta fecha el is Denef Investments S.L.U. (“Denef
único accionista de la Sociedad es Denef Investments”), holding all 1,000 ordinary,
Investments S.L.U. (“Denef Investments”), nominative, non-par value shares, all of the
titular de las 1.000 acciones ordinarias, same and single series, into which the
nominativas y sin valor nominal, todas de share capital of Cóndor Inversiones is
una misma y única serie, en las que se divided.
divide    el    capital     social     de   Cóndor
Inversiones.


1.3. Administración. Según consta en el                  1.3. Administration. According to Article
Artículo 10 de los estatutos sociales, la                10 of the bylaws, the administration and
administración y representación de la                    representation of the Company are the
Sociedad corresponde a un o más                          responsibility     of      one     or      more
administradores, pudiendo ser personas                   administrators, who may be natural or legal
naturales o jurídicas, a quien actuando en               persons, and who, acting as established in
la forma que se determine en el acto de su               the act of their appointment, shall have the
designación,          les            corresponderá       power to represent the Company both
representar judicial y extrajudicialmente a              judicially   and        outside   of    judicial
la Sociedad.                                             proceedings.


1.4.     Administradores              designados.        1.4.   Appointed         Administrators.    By
Mediante acuerdos de accionistas sin                     means of shareholder agreements without
forma de junta otorgados por escrituras                  the form of a meeting executed as public
públicas de fecha 31 de julio y 7 de agosto              deeds dated July 31 and August 7, 2023,
de 2023, ante la Notario Interina de                     both before Santiago Interim Notary Ms.
Santiago doña Paulina Constanza Estay                    Paulina Constanza Estay Calzadilla, under
Calzadilla, bajo los repertorios 6152-2023               record 6152-2023 and record 6340-2023,
y      6340-2023,        respectivamente       (en       respectively (hereinafter also referred to as
adelante       también     las   “Escrituras   de        the     “Appointment        Deeds”),     Denef
Designación”), Denef Investments, en su                  Investments, in its capacity as the sole and
calidad de único y actual accionista de la               current shareholder of the Company, duly
Sociedad, debidamente representada por                   represented by Wilmington Trust, National




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Wilmington Trust, National Association,           Association, pursuant to the irrevocable
conforme al mandato irrevocable otorgado          power of attorney granted in the exercise of
en el ejercicio los derechos contemplados         the rights contemplated in Clause 10
en la Cláusula 10 Sección 10.2 del contrato       Section 10.2 of the pledge agreement over
de prenda sin desplazamiento sobre                shares granted by means of a public deed
acciones otorgado por escritura pública de        dated September 17, 2020, before Notary
fecha 17 de septiembre de 2020 en la              Mr. Jorge Reyes Bessone of San Miguel,
notaría de San Miguel de don Jorge Reyes          between     Denef      Investments      and
Bessone, entre Denef Investments y                Wilmington Trust, National Association
Wilmington Trust, National Association (el        (the “Pledge Agreement”), appointed Mr.
“Contrato de Prenda”), designó como               Mark Alan Mc Dermott, bearer of US
administradores de la Sociedad a los              passport No. 547041523, Mr. Daniel
señores Mark Alan Mc Dermott, pasaporte           Gregory Katz, bearer of US passport No.
estadounidense      número     547041523,         520661928, and Mr. Alan Jeffrey Carr,
Daniel    Gregory      Katz,    pasaporte         bearer of US passport No. 591911494, as
estadounidense número 520661928, y                administrators of the Company.
Alan      Jeffrey     Carr,     pasaporte
estadounidense número 591911494.


2. Instalación de la Sesión. Se dio por           2. Meeting Installation. The meeting was
instalada la sesión, por unanimidad de los        declared open by unanimous consent of
señores Administradores asistentes.               the attending Administrators.


3. Cuenta. Los señores Administradores            3. Agenda. The Administrators state that
señalan que se han reunido para tratar y          they have gathered to discuss the following
referirse a los siguientes asuntos: (a)           matters: (a) analysis of the economic and
análisis de la situación económica y              financial situation of the Company; and (b)
financiera de la Sociedad; y (b) eventual         adoption of urgent measures.
adopción de medidas urgentes.


4. Análisis de la situación económica y 4. Analysis of the economic and
financiera de la Sociedad y adopción de financial situation of the Company and




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medidas urgentes.                                                 adoption of urgent measures.


(i) Los señores Administradores dan                               (i)   The    Administrators     reviewed      the
revisión a los antecedentes económicos y                          economic and financial background of the
financieros       de        la    Sociedad,       a     los       Company and the accompanying records
antecedentes           acompañados               a      los       in the bankruptcy reorganization court
procesos judiciales de reorganización                             proceedings before the 6th Civil Court of
concursal seguidos ante el 6° Juzgado                             Santiago and the 15th Civil Court of
Civil de Santiago y el 15° Juzgado Civil de                       Santiago, pursuant to cases Rol C-12.429-
Santiago, conforme a las causas Rol C-                            2023 and Rol C-12.426-2023, respectively,
12.429-2023        y         Rol       C-12.426-2023,             as    well   as   other    publicly     available
respectivamente, y demás información                              information. These records illustrate the
pública disponible, información que da                            current complex and deteriorated financial
cuenta del estado actual de los negocios                          situation    of   the     Company       and   its
de      la     Sociedad            y     sus     filiales,        subsidiaries.
evidenciándose una situación financiera
compleja y deteriorada.


(ii)    Del    mismo             modo,    los    señores (ii)             Likewise,       the     Administrators
Administradores dan cuenta que Cóndor acknowledge that Cóndor Inversiones
Inversiones se constituyó en codeudora y acted as a co-debtor and joint guarantor of
fiadora solidaria de Denef Investments, en Denef Investments, under the terms and
los términos y condiciones estipulados en conditions established in the contract
el     contrato    denominado             “Credit      and referred to as the “Credit and Guarantee
Guarantee          Agreement”,                  celebrado Agreement,” executed by means of a
mediante instrumento privado en idioma private instrument in English language
inglés de fecha 17 de septiembre de 2020, dated                            September        17,   2020,     among
entre        Mainstream           Renewable          Power Mainstream Renewable Power Mezzanine
Mezzanine          Finance               DAC,         Denef Finance DAC, Denef Investments, the
Investments,           la        Sociedad,       Huemul Company, Huemul Inversiones SpA, and
Inversiones       SpA        y     Wilmington         Trust, Wilmington Trust, National Association
National Association el (“Contrato de (the “Credit Agreement”). In relation to the




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Crédito”). En relación con lo anterior, los foregoing, the Administrators have been
señores    Administradores          han    tomado made aware of the occurrence of an “Event
conocimiento de la ocurrencia de un of Default” or “Events of Default,” as
“Evento de Incumplimiento” o “Events of defined in the Credit Agreement, on the
Default” definido en el Contrato de Crédito part of Denef Investments regarding
por parte de Denef Investments respecto Wilmington Trust, National Association, in
de Wilmington Trust, National Association, the amount of US$280,000,000 for capital
por la suma de US$280.000.000 por plus                    accrued    interest,    which       further
concepto         de     capital    más    intereses demonstrates the Company’s complex
acumulados, lo que manifiesta la compleja financial situation.
situación financiera de la Sociedad.


(iii) Para el análisis de los antecedentes (iii) For the analysis of the aforementioned
antes      mencionados,            los    señores background, the Administrators have: (a)
Administradores han: (a) revisado de regularly                and    carefully     reviewed       the
manera regular y cuidadosa los materiales materials and other information presented
y otra información presentada por los by the Company’s advisors regarding the
asesores de la Sociedad con respecto a las Company’s            business         conditions,      the
condiciones comerciales de la Sociedad, Company’s operations, its current and
sus operaciones, su posición financiera projected financial position and other
actual y proyectada, y otra información relevant              information;       (b)       thoroughly
relevante; (b) evaluado minuciosamente las evaluated           the     Company’s            strategic
alternativas estratégicas de la Sociedad, alternatives,             including          a     possible
incluida una posible reestructuración; (c) restructuring; (c) conferred extensively with
mantenido amplias conversaciones con los the Company’s advisors regarding these
asesores de la Sociedad en relación con matters; and (d) determined that the filing
estos asuntos; y (d) determinado que la of voluntary petitions under Chapter 11 of
presentación de peticiones voluntarias bajo the US Bankruptcy Code by the Company
el Capítulo 11 de la Ley de Quiebras de los and Condor II, LLC, a Texas limited liability
Estados Unidos por parte de la Sociedad y company (“Condor II, LLC”), of which the
Condor     II,        LLC,   una    sociedad   de Company owns 50% of the issued and
responsabilidad limitada de Texas (“Condor outstanding membership interests, is in the




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II, LLC”), de la cual la Sociedad posee el best interests of the Company.
50% del capital social, está en el mejor
interés de la Sociedad.


5. Acuerdo. En razón de lo anterior, luego 5. Resolution. In light of the above, after
de debatir extensamente la situación, el Sr. extensive deliberation, Mr. Alan Jeffrey
Alan Jeffrey Carr y el Sr. Mark Alan Mc Carr and Mr. Mark Alan Mc Dermott (the
Dermott (los "Administradores Votantes”) “Voting Administrators”) resolved that, in
acuerdan que, según el criterio de los the judgment of the Voting Administrators,
Administradores Votantes, es deseable y it is desirable and in the best interests of
está en el mejor interés de la Sociedad que the Company that the Company and
la misma y Condor II, LLC busquen Condor II, LLC seek relief under Chapter
protección bajo el Capítulo 11 de la Ley de 11 of the US Bankruptcy Code or in any
Quiebras de los Estados Unidos o en appropriate forum (“Chapter 11 Case”). Mr.
cualquier   foro       apropiado      (“Caso      del Daniel Gregory Katz abstained from voting
Capítulo 11”). El Sr. Daniel Gregory Katz se on, adopting or approving any resolutions
abstuvo de votar, adoptar o aprobar relating to the Chapter 11 Case.
cualquier resolución relacionada con el
Caso del Capítulo 11.


6. Poderes especiales. Posteriormente, y 6. Special Powers. Subsequently, and to
para   llevar    a cabo        las    resoluciones implement the resolutions adopted by the
adoptadas        por     los     Administradores Voting Administrators in the preceding
Votantes    en      el   punto       anterior,    los item, the Voting Administrators agree, on
Administradores Votantes acuerdan, en behalf of the Company, on the following:
nombre de la Sociedad, lo siguiente:


(i) las “Personas Autorizadas” (según se (i) the “Authorized Persons” (as defined
define a continuación) están y por la below) shall be, and hereby are, authorized
presente        quedan       autorizadas         para to file voluntary petitions (the “Petitions”) to
presentar       peticiones     voluntarias       (las initiate the Chapter 11 Case, in the United
“Peticiones”) para iniciar el Caso del States Bankruptcy Court for the Southern




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Capítulo 11, en el Tribunal de Quiebras de District of Texas or such other court (the
los Estados Unidos para el Distrito Sur de “Bankruptcy Court”) as each Authorized
Texas o en cualquier otro tribunal (el Person shall determine to be appropriate
“Tribunal de Quiebras”) que cada Persona and perform any and all such acts as are
Autorizada determine como apropiado, y reasonable,              advisable,        expedient,
llevar a cabo cualquier y todas las acciones convenient, proper or necessary to effect
que     sean   razonables,    convenientes, the foregoing, the performance of such
adecuadas, expeditas o necesarias para acts to constitute conclusive evidence of
llevar a cabo lo anterior, siendo la ejecución the      reasonableness,          advisability,
de tales acciones evidencia concluyente de expedience,                          convenience,
la       razonabilidad,       conveniencia, appropriateness or necessity thereof.
adecuación, oportunidad o necesidad de
las mismas.


(ii) cada Persona Autorizada estará y por la (ii) each Authorized Person shall be, and
presente queda autorizada, dirigida y each of them hereby is, authorized,
facultada, en nombre y representación de directed and empowered, in the name and
la Sociedad, para: (a) ejecutar, reconocer, on behalf of the Company, to: (a) execute,
entregar y verificar las Peticiones y todos acknowledge,       deliver    and     verify     the
los    demás   documentos     auxiliares,   y Petitions and all other ancillary documents,
presentar las Peticiones ante el Tribunal de and cause the Petitions to be filed with the
Quiebras, según corresponda, y realizar o Bankruptcy Court, as appropriate, and
hacer realizar, antes de su ejecución, make or cause to be made prior to
cualquier modificación a las Peticiones o execution thereof any modifications to the
documentos     auxiliares    que   cualquier Petitions or ancillary documents as any
Persona Autorizada, a su discreción, such Authorized Person, in such person’s
considere necesaria, deseable o apropiada discretion, deems necessary, desirable or
para llevar a cabo la intención y cumplir los appropriate to carry out the intent and
propósitos de estas resoluciones; (b) accomplish             the   purposes       of       these
ejecutar, reconocer, entregar, verificar y resolutions; (b) execute, acknowledge,
presentar o hacer presentar todas las deliver, verify and file or cause to be filed
peticiones,    programas,    declaraciones, all petitions, schedules, statements, lists,




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listas,   mociones      y   otros   documentos motions, applications and other papers or
necesarios o deseables en relación con lo documents necessary or desirable in
anterior; (c) ejecutar, reconocer, entregar y connection with the foregoing; (c) execute,
verificar todos los demás documentos acknowledge, deliver and verify any and all
necesarios, deseables o apropiados en other documents necessary, desirable or
relación con ello y administrar el Caso del appropriate in connection therewith and to
Capítulo 11 en la forma o formas que administer the Chapter 11 Case in such
cualquier Persona Autorizada apruebe; y form or forms as any such Authorized
las    acciones    de       cualquier    Persona Person may approve; and the actions of
Autorizada tomadas de conformidad con any Authorized Person taken pursuant to
esta resolución, incluida la ejecución, this resolution, including the execution,
reconocimiento, entrega y verificación de acknowledgment, delivery and verification
las Peticiones y todos los documentos of the Petitions and all ancillary documents
auxiliares y todos los demás acuerdos, and all other agreements, certificates,
certificados,     instrumentos,         garantías, instruments, guaranties, notices and other
avisos y otros documentos, constituirán documents, shall be conclusive evidence
evidencia concluyente de la aprobación de of such Authorized Person’s approval and
dicha Persona Autorizada y la necesidad, the                   necessity,     desirability     or
conveniencia o adecuación de las mismas; appropriateness thereof; and (d) to take
y (d) tomar cualquier acción que se any action as may be deemed necessary,
considere necesaria, deseable o apropiada desirable or appropriate to carry out the
para llevar a cabo la intención de esta intent of this resolution, including the filing
resolución, incluida la presentación de las of           the    Petitions   and   any    ancillary
Peticiones y cualquier documento auxiliar.            documents.


(iii) las Personas Autorizadas quedan, por (iii) the Authorized Persons shall be, and
la    presente,   autorizadas,      dirigidas   y each of them individually hereby is,
facultadas, en nombre y representación de authorized, directed and empowered, in
la Sociedad, para contratar los servicios de: the name and on behalf of the Company,
(a) Jones Day; (b) Jackson Walker LLP; (c) to retain: (a) Jones Day; (b) Jackson
Guerrero Iturra Abogados; y (d) otros Walker LLP; (c) Guerrero Iturra Abogados;
profesionales        adicionales,        incluidos and (d) such additional professionals,




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abogados,         contadores,                 asesores including attorneys, accountants, financial
financieros,    banqueros          de     inversión, advisors, investment bankers, actuaries,
actuarios, consultores, expertos, agentes o consultants, experts, agents or brokers
corredores      (junto     con          las     firmas (together with the foregoing identified
mencionadas            anteriormente,               los firms, the “Professionals”), in each case as
“Profesionales”), en cada caso según el in any such Authorized Person’s judgment
juicio de dichas Personas Autorizadas may                       be    necessary,        desirable    or
pueda ser necesario, deseable o apropiado appropriate in connection with the Chapter
en relación con el Caso del Capítulo 11 y 11 Case and other related matters, on such
otros asuntos relacionados, en los términos terms as such Authorized Person or
aprobados por dicha Persona Autorizada o Authorized Persons shall approve and
Personas Autorizadas, y la contratación de such Authorized Person’s retention thereof
los mismos por parte de dicha Persona to constitute conclusive evidence of such
Autorizada           constituirá              evidencia Authorized Person’s approval and the
concluyente de la aprobación de tal necessity, desirability or appropriateness
Persona      Autorizada     y      la    necesidad, thereof.
conveniencia     o     adecuación         de     dicha
contratación.


(iv) las firmas de abogados Jones Day, (iv) the law firms of Jones Day, Jackson
Jackson Walker LLP y Guerrero Iturra Walker LLP and Guerrero Iturra Abogados
Abogados, y cualquier otro asesor legal and any additional special or local counsel
especial o local seleccionado por las selected by the Authorized Persons, if any,
Personas Autorizadas, en su caso, quedan, shall be, and hereby are, authorized,
por la presente, autorizados, facultados y empowered and directed to represent the
dirigidos a representar a la Sociedad, como Company,                 as   debtor   and      debtor   in
deudor y deudor en posesión, en relación possession, in connection with the Chapter
con el Caso del Capítulo 11 o cualquier otro 11              Case    or   any   other     restructuring
procedimiento de reestructuración iniciado proceedings commenced by or against it
por o en contra de ella bajo la Ley de under the US Bankruptcy Code or in any
Quiebras de los Estados Unidos o en other appropriate forum in which the
cualquier otro foro apropiado en el cual la Company may seek recognition.




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Sociedad pueda solicitar reconocimiento.


(v)     además   de   las   autorizaciones (v) in addition to the specific authorizations
específicas conferidas hasta la fecha a las heretofore conferred upon the Authorized
Personas Autorizadas, se autoriza a cada Persons, each Authorized Person be, and
Persona Autorizada, con plenos poderes hereby is, authorized with full power of
de delegación, en nombre y representación delegation, in the name and on behalf of
de la Sociedad, a tomar o hacer que se the Company, to take or cause to be taken
tomen todas y cada una de las acciones any and all such further actions and to
necesarias y a ejecutar y entregar, o hacer execute and deliver or cause to be
que se ejecuten o entreguen, y a modificar, executed or delivered, and to amend,
complementar o modificar de otra manera supplement or otherwise modify from time
en cualquier momento, todos y cada uno de to time, any and all such agreements,
los acuerdos, documentos, certificados, documents            certificates,    instruments,
instrumentos,    declaraciones,     avisos, statements,        notices,      undertakings,
compromisos, enmiendas y otros escritos, amendments and other writings, and to
y a incurrir y pagar o dirigir el pago de todos incur and to pay or direct payment of all
los honorarios y gastos, incluidos los such fees and expenses, including filing
derechos de presentación, que, a juicio de fees, as in the judgment of the Authorized
la Persona Autorizada, sean necesarios, Person shall be necessary, desirable or
deseables o apropiados para llevar a cabo appropriate to effectuate the purpose and
el propósito e intención de todas y cada una intent of any and all of the foregoing
de las resoluciones anteriores adoptadas resolutions adopted herein.
aquí.


(vi) la firma de cualquier administrador o (vi) the signature of any administrator or
Persona Autorizada podrá, pero no será Authorized Person may, but need not, be a
necesario, ser una firma facsimilar o facsimile or electronic signature imprinted
electrónica impresa o reproducida de or            otherwise     reproduced      on   the
alguna otra manera en los documentos, y documents, and for that purpose the
para tal efecto, la Sociedad adopta como Company hereby adopts as binding upon it
vinculante la firma facsimilar de cualquier the facsimile signature of any present or




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administrador    o   Persona     Autorizada, future administrator or Authorized Person,
presente o futuro, no obstante el hecho de notwithstanding the fact that at the time the
que en el momento en que los documentos documents             shall       be    executed,
sean     ejecutados,      autenticados    o authenticated or delivered or disposed of
entregados o dispuestos, dicha persona such person shall have ceased to be an
haya dejado de ser administrador o administrator or Authorized Person of the
Persona Autorizada de la Sociedad. En Company              and    that,   in   case   any
caso de que algún administrador o Persona administrator or Authorized Person of the
Autorizada de la Sociedad cuya firma Company whose facsimile signature shall
facsimilar aparezca en los documentos appear on the documents shall cease to
deje de ocupar tal cargo antes de que los hold such office before the documents
documentos      hayan     sido   ejecutados, have been executed, authenticated and
autenticados y entregados o dispuestos por delivered or disposed of by the Company,
la Sociedad, dichos documentos podrán such documents nevertheless may be
ser ejecutados, autenticados, entregados o executed, authenticated and delivered or
dispuestos y serán válidos como si tal disposed of and such documents shall be
persona no hubiera dejado de ocupar tal valid as though such person had not
posición con la Sociedad; y cualquier ceased to hold such position with the
documento que haya sido así ejecutado, Company; and that any such documents as
autenticado, entregado o dispuesto es shall           have       been     so    executed,
adoptado por la Sociedad como sus authenticated, delivered or disposed of are
obligaciones vinculantes.                     hereby adopted by the Company as its
                                              binding obligations.


(vii) todos los actos realizados legalmente (vii) all acts lawfully done or actions
o   acciones    tomadas     legalmente   por lawfully taken by any Authorized Person, or
cualquier Persona Autorizada, o bajo la at the direction of an Authorized Person, or
dirección de una Persona Autorizada, o por by any of the Professionals at the direction
cualquiera de los Profesionales bajo la of an Authorized Person, in connection with
dirección de una Persona Autorizada, en the Chapter 11 Case or any proceedings
relación con el Caso del Capítulo 11 o related thereto, or any matter related
cualquier procedimiento relacionado con el thereto, be, and hereby are, adopted,




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mismo, o cualquier asunto relacionado con ratified, confirmed and approved in all
el   mismo,     quedan       por    la     presente respects as the acts and deeds of the
adoptados,      ratificados,     confirmados      y Company.
aprobados en todos los aspectos como los
actos y hechos de la Sociedad.


(viii) todas y cada una de las acciones y (viii) any and all lawful actions and
transacciones      legales       realizadas     por transactions by any Authorized Person, or
cualquier Persona Autorizada, o bajo la at the direction of an Authorized Person, for
dirección de una Persona Autorizada, en and on behalf and in the name of the
representación y en nombre de la Sociedad Company with respect to any transactions
con respecto a cualquier transacción contemplated by the foregoing resolutions,
contemplada        en      las      resoluciones before the adoption of the foregoing
anteriores, previas a la adopción de dichas resolutions be, and they hereby are,
resoluciones, quedan por la presente ratified, authorized, approved, adopted and
ratificadas,     autorizadas,            aprobadas, consented to in all respects for all
adoptadas y consentidas en todos los purposes.
aspectos y para todos los fines.


(ix) El secretario y/o cualquier Persona (ix) the secretary and/or any Authorized
Autorizada      quedan     por      la     presente Person hereby are authorized and directed
autorizados y facultados para certificar y/o to certify and/or attest to these resolutions,
atestiguar estas resoluciones, el certificado certificate of incumbency and such other
de incumbencia y otros documentos o documents                     or   instruments   that   the
instrumentos que el secretario de la secretary of the Company may deem
Sociedad       considere         necesarios       o necessary or appropriate in connection
apropiados en relación con los asuntos with the foregoing matters; provided,
mencionados anteriormente; no obstante, however, that such certification and/or
se establece que dicha certificación y/o attestation shall not be required for any
atestación no será requerida para que document, instrument or agreement to be
cualquier      documento,        instrumento      o valid and binding on the Company.
acuerdo tenga validez y vinculación con la




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Sociedad.


(x) A los efectos de estas resoluciones, el (x) for the purposes of these resolutions,
término “Persona Autorizada” significará e the term “Authorized Person” shall mean
incluirá     a     cualquier   uno   de   los and include any one of the Administrators.
Administradores.


No habiendo más asuntos que tratar, se Having no further business to discuss, the
puso término a la sesión a las 13:00 horas meeting         was     adjourned    at   1:00pm
de Santiago de Chile.                          Santiago, Chile time.


[Siguen las páginas de firmas / el resto de        [Signature pages follow – remainder of
           la página se dejó en blanco                  page intentionally left blank]
                 intencionalmente]




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               ______________________________________
               Daniel Gregory Katz




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                Inversiones SpA / Signature Page 1/3 to Minutes of Special Meeting of the Administrators
                                               of Cóndor Inversiones SpA]
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______________________________________
Alan Jeffrey Carr




 [Página de Firma 2/3 del Acta de Reunión Extraordinaria de Administradores de Cóndor
Inversiones SpA / Signature Page 2/3 to Minutes of Special Meeting of the Administrators
                               of Cóndor Inversiones SpA]
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